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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                        Case No. 20-cv-60719- DIMITROULEAS/SNOW




  ITAMAR MEDICAL LTD.,

               Plaintiff,
  v.

  ECTOSENSE NV, and VIRTUOX, INC.,

               Defendants.




             ITAMAR’S REPLY IN SUPPORT OF ITS MOTION FOR EXTENSION AND
       FOR EXPEDITED DISCOVERY IN CONNECTION WITH ECTOSENSE’S MOTION
              TO DISQUALIFY GENE KLEINHENDLER AND FOR SANCTIONS




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     I.   ARGUMENT
              a. Itamar’s Extension Motion Was Not Believed to Be Governed by this Court’s
                 Discovery Order.
          Itamar’s Motion for Extension and for Expedited Discovery (the “Extension Motion”) was
   filed as a result of Ectosense’s Motion to Disqualify Gene Kleinhendler (the “Motion to
   Disqualify”), the third motion filed by Ectosense directed at removing Itamar’s chosen counsel.
   The Motion to Disqualify is not a discovery motion and not subject to this Court’s General Order
   on Discovery Objections and Procedures (the “Discovery Order”) (ECF No. 67). As a result,
   Itamar did not believe its Extension Motion was a motion subject to the Discovery Order either.
   While Itamar does request expedited discovery in the Extension Motion, the aim of the filing is to
   urge this Court to allow more time for factual development and briefing on the Motion to
   Disqualify. Itamar argued that Ectosense should not be the given the opportunity to seek the
   draconian sanction of disqualification without allowing discovery on the witnesses making those
   egregious allegations. If Itamar was mistaken and the Extension Motion is subject to the 5-page
   limitation, Itamar will certainly refile a compliant version of the Extension Motion.
              b. Itamar’s Conferred with Ectosense in Good Faith.
          Given the Court’s dismissal of Ectosense’s previous two motions to remove Mr.
   Kleinhendler as counsel, Itamar did not expect Ectosense to submit the Motion to Disqualify. In
   denying Ectosense’s Renewed Motion for Reconsideration of Mr. Kleinhendler’s pro hac vice
   admission without prejudice, the Court made it made it abundantly clear that the Motion to
   Disqualify should only be filed “after a careful review of the applicable standards” and supported
   by legal authority “authority under which the requested sanctions are warranted.” (ECF No. 179).
          Itamar extensively researched the applicable standard and determined it was unlikely
   Ectosense would file the Motion to Disqualify because (1) no sufficient basis for disqualification
   exists, and (2) submitting yet another unsupported motion, in defiance of this Court’s express
   order, would expose Ectosense to sanctions. Nonetheless, Ectosense filed the Motion on the
   afternoon of September 3, 2021, the Friday preceding Labor Day, followed by the two-day Jewish
   high holiday of Rosh Hashanah. The Court had given Itamar ten calendar days (not business days)
   to respond to the Motion to Disqualify. This meant Itamar and its counsel, the majority of whom
   observe the religious holiday, had only two work days to address the motion. Despite these time
   constraints, Itamar made every effort to meet and confer with Ectosense’s counsel in good faith
   before filing the Motion. Itamar contacted Ectosense within hours of Rosh Hashanah concluding
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   at sundown on September 8, 2021, to request the extension and expedited discovery. (Exhibit A,
   Conferral Emails.) When Ectosense requested more information about the discovery being sought,
   Itamar immediately provided it. Id. While Ectosense did agree to a short extension to accommodate
   the intervening federal and religious holidays, it did not agree to the requested expedited discovery.
   At that time, Ectosense advised that, at most, it would only agree to one hour for each requested
   deposition. Given the serious nature of the allegations against Mr. Kleinhendler, this is obviously
   insufficient. As it was clear the parties would not reach agreement, Itamar filed the Extension
   Motion on Friday, September 10, in light of the response deadline on Monday, September 13.
           Subsequent events have shown that additional conferrals would not have changed
   Ectosense’s position. The Court ordered that parties to have “a meaningful conferral … in
   accordance with the methods set out in ECF No. 67 (by phone, in person, or by Zoom or a similar
   platform) to determine if the portion of the [Extension] Motion requesting discovery can be
   resolved without further Court intervention.” ECF No. 188. Pursuant to this directive, the parties
   met and conferred on September 17, 2021, using the Microsoft Teams platform. During the call,
   Ectosense advised that it would be willing to engage in some expedited discovery, but with very
   significant limitations. Specifically, Ectosense advised it would provide a written response to
   Itamar’s proposed Expedited Requests for Production of Documents Related to Motion to
   Disqualify by October 1, 2021, and responsive documents and a privilege log, if any, by October
   15, 2021, but with the caveat that it would be limiting discovery to only the communications
   between Ectosense and its investor, Saffelberg Investments nv, and Mr. Kleinhendler.1 Ectosense
   contends that any communications or documents between or among employees at Ectosense and
   Saffelberg regarding these communications and the organizations’ subsequent actions, however,
   are off-limits, either because they are not relevant or because they privileged. As Itamar advised
   during the conference call, the latter excuse can be addressed by a privilege log, if there are, in
   fact, privileged communications with counsel or work product documents. The notion that intra-
   company and inter-company communications related to the allegations in the Motion to Disqualify
   are not relevant, however, cannot be sustained. At a minimum, Itamar is entitled to all relevant
   internal documents and communications from at least April 12, 2021, the date of Mr.
   Kleinhendler’s first communication through September 3, 2021, the date of Ectosense’s third


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           Itamar propounded the Expedited Requests for Production of Documents Related to Motion to Disqualify
   on Ectosense on September 20, 2021.
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   motion directed at him. During the September 17 call, Ectosense also advised it would not
   voluntarily produce declarants Mats Dahlqvist or Arnold Benoot, or a representative of Saffelberg
   for deposition and would not produce documents from Saffelberg absent formal procedures under
   the Hague Convention. As a result, despite Itamar’s best efforts, the parties were unable to reach
   agreement on the discovery issues, even with more time to conduct additional conferrals.
                 c. Itamar Should Be Permitted To Take Expedited Discovery on Saffelberg and
                    Ectosense’s Witnesses Who Have Submitted Accusatory Declarations

            Ectosense submitted Declarations from Saffelberg and Ectosense witnesses in support of
   the Motion to Disqualify. Ectosense and Saffelberg’s witnesses should have foreseen the request
   for discovery directed at the statements and materials they presented to this Court. Ectosense,
   however, claims that discovery is not necessary because “the evidence Ectosense relies upon are
   the written letters from Mr. Kleinhendler.” (ECF 186 at 4.) If true, Ectosense should withdraw (or
   the Court could strike) the declarations. Ectosense wants to have its cake and eat it too. It is relying
   on the declarations of Mr. Dahlqvist and Mr. Benoot to attempt to establish that Mr. Kleinhendler
   reviewed AEO documents and extorted Saffelberg, but it refuses to make the declarants available
   to be questioned about their accusations. Indeed, during the September 17 conference, Ectosense
   intimated that it is irrelevant if Saffelberg or Mr. Dahlqvist actually felt threatened or intimidated
   because the letters from Mr. Kleinhendler “objectively” prove Mr. Kleinhendler threatened them.
   Itamar disputes that these letters establish by clear and convincing evidence that Mr. Kleinhendler
   violated any ethical rule.2 Nonetheless, Ectosense’s position leads Itamar to believe that Saffelberg
   did not feel threatened at all. Instead, based on Ectosense’s refusal to produce Mr. Dahlqvist or
   Mr. Benoot for deposition, and its reluctance to produce contemporaneous records related to the
   allegations in Motion to Disqualify, it is clear that the claims of extortion and intimidation, raised
   months after Mr. Kleinhendler’s communications in April 2021, were concocted after the fact as
   a litigation tactic to derail these proceedings. In any case, Ectosense should not be permitted to
   introduce and rely on testimony without permitting Itamar to test that testimony through discovery.
            Given the gravity of the claims and the severe sanctions sought in Ectosense’s request,
   expedited discovery regarding the facts and circumstances underlying these allegations is required.


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            See Schlumberger v. Wiley, 113 F.3d 1553, 1561-62 (11th Cir.1997) (emphasizing the high level of
   scrutiny required for disbarment and noting that “the court should not deprive an attorney of the opportunity to
   practice his profession on the basis of a determination after the fact that conduct is unethical if responsible attorneys
   would differ in appraising the propriety of that conduct.”).
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                  CERTIFICATION OF COMPLIANCE WITH CONFERRAL
                             PURSUANT TO ECF NO. 188

          Undersigned counsel hereby certifies that she met and conferred with Ectosense’s counsel
   on September 17, 2017, pursuant to the Court’s instructions in ECF No. 188 to have “a meaningful
   conferral … in accordance with the methods set out in ECF No. 67 (by phone, in person, or by
   Zoom or a similar platform) to determine if the portion of the [Extension] Motion requesting
   discovery can be resolved without further Court intervention.” As explained above, despite the
   parties’ good faith efforts, they were unable to reach agreement.

                                                        /s/ Laura Ganoza


   Dated: September 20, 2021                            Respectfully submitted,

                                                        /s/ Laura Ganoza
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

   filed with the Clerk of the Court on this 20 day of September, 2021 using CM/ECF, which serves

   all counsel of record listed on the attached Service List via transmission of Notices of Electronic

   Filing generated by CM/ECF.


                                                        /s/ Laura Ganoza
                                                        Laura Ganoza




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                                      SERVICE LIST
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                        Case No. 20-cv-60719- DIMITROULEAS/SNOW

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